                                                                                                  Entered on Docket
                                                                                                  October 05, 2018
                                                                                                  EDWARD J. EMMONS, CLERK
                                                                                                  U.S. BANKRUPTCY COURT
                                                                                                  NORTHERN DISTRICT OF CALIFORNIA



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                                                                                             The following constitutes
                                             3                                               the order of the court. Signed October 5, 2018
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                                             5                                                 _________________________________________________
                                                                                               M. Elaine Hammond
                                             6                                                 U.S. Bankruptcy Judge

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                                                                        UNITED STATES BANKRUPTCY COURT
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                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                   )    Case No. 18-51575 MEH
                                            10   In re                                             )
UNITED STATES BANKRUPTCY COURT




                                                                                                   )    Chapter 13
  for the Northern District of California




                                            11   Gloria Cabral Robles                              )
                                                                                                   )
                                            12                                  Debtor.            )    Date: October 24, 2018
                                                                                                   )    Time: 9:00 a.m.
                                            13                                                     )    Ctrm: 3020
                                                                                                   )
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                                            15                                 TRIAL SCHEDULING ORDER

                                            16           A preliminary hearing in the above-captioned bankruptcy case was held on October 5,

                                            17   2018 for the Motion for Relief from Stay (the “Motion”) (Dkts# 37, 39) filed by Kurt Miller

                                            18   (“Movant”). Gloria Cabral Robles (“Debtor”) filed an objection to the Motion on September

                                            19   10, 2018 (Dkt# 36) and on October 1, 2018 (Dkt# 44). Movant filed a reply to Debtor’s

                                            20   opposition on October 1, 2018 (Dkt# 43). Appearances were stated on the record. After

                                            21   considering the Motion, the objections, and the reply, the Court determined a final hearing is

                                            22   required.

                                            23           Good cause appearing, it is ORDERED as follows:

                                            24           l. A final hearing on the Motion is set for October 24, 2018, at 9:00a.m., in Courtroom

                                            25   3020, 280 South First Street, San Jose, California. One day has been reserved for the

                                            26   evidentiary hearing. The issues to be tried are as follows:

                                            27                  (A) Whether Movant has standing to enforce the note;

                                            28                  (B) Whether the default judgment obtained by the Movant was recorded; and

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                                             1                   (C) Whether Debtor had an ownership interest in the real property on the petition
                                             2                   date.
                                             3           2. Each party must file and serve a trial brief on these issues by October 18, 2018.
                                             4           3. Each party must file and serve a witness list by October 18, 2018.
                                             5           4. The parties are strongly encouraged to focus their evidentiary presentations on
                                             6   documentary evidence.
                                             7           5. Each party must, no later than October 19, 2018, provide each other with copies of
                                             8   all exhibits such party intends to introduce into evidence, excluding exhibits to be used solely
                                             9   for impeachment, and of any summaries or compilations to be introduced under Fed. R. Evid.
                                            10   1006.
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11           6. If any party expects to offer more than ten exhibits, such party must place them in a
                                            12   three-ring binder and tab each exhibit.
                                            13           7. The parties shall bring to trial sufficient copies of exhibits for all counsel, the witness,
                                            14   and the court. Each copy of each exhibit shall be pre-marked by the proponent prior to the
                                            15   hearing. Debtor’s exhibits shall be numbered and Creditor’s exhibits shall be lettered. The
                                            16   parties may stipulate to use joint exhibits and to the manner in which they will be designated.
                                            17   Exhibit stickers may be obtained from the courtroom deputy.
                                            18           8. No later than October 22, 2018, the parties must meet and confer regarding the matters
                                            19   in the following paragraph.
                                            20           9. At the commencement of the hearing, the parties shall be prepared to stipulate into
                                            21   evidence all exhibits that are admissible for at least one purpose and as to which there is no
                                            22   dispute as to authenticity or the ability of the opposing party to lay a foundation.
                                            23           10. Failure to comply with pre-trial requirements – including failing to file exhibits,
                                            24   witness lists, and trial briefs – will not result in a trial being reset, but will result in appropriate
                                            25   sanctions.
                                            26           11. Pursuant to Fed. R. Bankr. P. 7016 and Fed. R. Civ. P. 16(f), any failure of a party
                                            27   to comply timely with this order may result in judgment against such party, removal of the
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                                             1   hearing from calendar, exclusion of evidence, or imposition of monetary or non-monetary
                                             2   sanctions.
                                             3          12. The Court orders the stay continued in effect pending the conclusion and entry of an
                                             4   order on a final hearing on the Motion.
                                             5                                      **END OF ORDER**
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             1                                COURT SERVICE LIST
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                                             3   Via ECF:
                                             4   All ECF Recipients
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  for the Northern District of California




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